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                           THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


    NEW ORLEANS WORKERS’ CENTER
    FOR RACIAL JUSTICE,

                  Plaintiff,

           v.                                                Case No. 20-cv-1825 (RBW)

    U.S. DEPARTMENT OF LABOR, et al.,

                  Defendants.


                                   STIPULATED DISMISSAL

         On February 5, 2021, the Wage and Hour Division of the U.S. Department of Labor

withdrew Addendum 2 to Field Assistance Bulletin No. 2011-1 that was the subject of this

litigation.1 Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiff and

Defendants hereby stipulate to dismissal of this action without prejudice. Each side will bear its

own costs and fees.

Dated: February 24, 2021                              Respectfully submitted,

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    https://www.dol.gov/agencies/whd/field-assistance-bulletins
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